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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
EARL STRONG, Case No. 17-10106 (BLS)

Debtor.

 

Acting United States Trustee, Region 3 Adv. No. 17-50646 (BLS)

Plaintiff,

v.
EARL STRONG

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ANDREW R. VARA )
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Defendant. )
JUDGMENT ORDER DENYING DISCHARGE
On December ll, 2017, this Court conducted a trial in this adversary proceeding. Plaintiff
Andrew R. Vara, Acting United States Trustee for Region 3, appeared through counsel.
Defendant Earl Strong did not appear Rayrnond Allen testified in support of Plaintiff, and
Plaintiff proffered the testimony of Michael West and Jeoffrey Burtch, both of Whom Were
present in the courtroom. The Court entered Plaintiff’ s 43 exhibits into evidence. The Court
considered the arguments, evidence, and testimony presented at the hearing, as Well as the record
in this adversary proceeding and Defendant’s bankruptcy case. Bascd on that consideration and
the findings of fact and conclusions of law stated on the record under Federal Rule of
Bankruptcy Procedure 7052, the Court hereby ORDERS THAT:
1. Earl Strong’s discharge is DENIED under ll U.S.C. §727(a)(2).

2. Earl strong=s discharge is DENIED under 11 U.s.C. §727(a)(4).

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3. As a result of` the denial of his discharge, Earl Strong is permanently enjoined
from filing another bankruptcy-»under any chapter of the Bankruptcy Code_seeking to

discharge any debts that he owed as of January 13, 2017.

Dated: December U_, 2017

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man s'rArEs BANKRUPTCY JUDGE

